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Attorneys for Plaintiff

                          IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF IDAHO

ST. LUKE’S HEALTH SYSTEM, LTD.,                     Case No. 1:25-cv-00015-BLW

                   Plaintiff,                       ST. LUKE’S HEALTH SYSTEM, LTD.’S
                                                    SUPPLEMENT REGARDING SCOPE
       v.                                           OF ESI PRESERVATION

RAÚL LABRADOR, Attorney General of the
State of Idaho,

                   Defendant.


       As allowed by the Court during the May 7, 2025, scheduling conference and in

compliance with Docket Entry Order No. 58, St. Luke’s requests that the following items be

included in Section I(b)(ii)(1)(a) of the Discovery Plan regarding the scope of ESI preservation:

   •   the alleged conflict between EMTALA and the Idaho Defense of Life Act;

ST. LUKE’S HEALTH SYSTEM LTD.’S SUPPLEMENT REGARDING SCOPE OF ESI
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  •   the transfer of pregnant patients out of state (including medical records and air traffic

      control records);

  •   Plaintiff’s claims and Defendant’s defenses in this case;

  •   the lawsuit United States v. Idaho, No. 1:22-cv-00329 (D. Idaho);

  •   the relationship between Medicaid and abortion, including the Hyde Amendment

      (including documents related to the reimbursement under Medicaid of abortion);

  •   the Supremacy Clause, federal preemption, and/or the Spending Clause of the U.S.

      Constitution.



DATED: May 14, 2025                               STOEL RIVES LLP



                                                  /s/ Wendy J. Olson
                                                  Wendy J. Olson
                                                  Alaina Harrington


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                                                  /s/ Lindsay C. Harrison
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                                                  Jessica Ring Amunson
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on May 14, 20255, I served a full, true, and correct copy of the
foregoing St. Luke’s Health System, Ltd.’s Supplement Regarding Scope of ESI
Preservation on the parties hereto in the manner set forth below:

 Brian V Church                                           [ ] Via U.S. Mail
 Office of the Attorney General, Civil Litigation         [ ] Via Facsimile
 Division                                                 [ ] Via Overnight Mail
 954 W. Jefferson St., 2nd Floor                          [ ] Via Hand Delivery
 P.O. Box 83720                                           [X] Via CM/ECF Filing
 Boise, ID 83702-0010                                           brian.church@ag.idaho.gov


 David J Myers                                            [ ] Via U.S. Mail
 Office of the Attorney General                           [ ] Via Facsimile
 P.O. Box 83720                                           [ ] Via Overnight Mail
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                                              /s/ Wendy J. Olson
                                              Wendy J. Olson




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PRESERVATION- 3
